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JAMES E. JOHNSON                             THE CITY OF NEW YORK
Corporation Counsel
                                            LAW DEPARTMENT                                        DONNA A. CANFIELD
                                                100 CHURCH STREET                            Assistant Corporation Counsel
                                                NEW YORK, NY 10007                                   phone: (212) 356-2461
                                                                                              email: dcanfiel@law.nyc.gov



                                                                     May 26, 2020
        BY ECF
        Magistrate Judge Sarah L. Cave
        United States District Court
        Southern District of New York
        500 Pearl St., Room 702
        New York, NY 10007-1312

                              Re:     Local 3621, et al., v. City of New York et al.
                                      Civil Action Number: 18 CV 4476

        Dear Magistrate Judge Cave:

                       After meeting and conferring with Plaintiffs’ counsel on several occasions—by
        email and telephone—the parties have reached a search term agreement for collection and
        review. While the parties have agreed on search terms for collection and review, we have not
        reached an agreement concerning custodians. Pursuant to Your Honor’s May 7, 2020 Order and
        for the reasons set forth below, I ask the Court to consider and endorse the custodians proposed
        by Defendants.
                        As an initial matter, “a responding party is generally entitled to select the
        custodians most likely to possess responsive information. See Mortgage Resolution Servicing,
        LLC v. JPMorgan Chase Bank, N.A., 15 CV 0293, 2017 U.S. Dist. LEXIS 78217, 2017 WL
        2305398, at * 2 (S.D.N.Y. May 18, 2017) (“Absent agreement among the parties, then, the
        responding party is entitled to select the custodians most likely to possess responsive information
        and to search the files of those individuals”). “Unless that choice is manifestly unreasonable or
        the requesting party demonstrates that the resulting production is deficient, the court should play
        no role in dictating the design of the search, whether in choosing search tools, selecting search
        terms, or...designating custodians.” Id.
                       Further, ‘“a party seeking to compel another party to search the files of additional
        custodians bears the burden of establishing the relevance of the documents it seeks from those
        custodians.”’ Id. (quoting Lightsquared Inc. v. Deere & Co., No. 13 Civ. 8157, 2015 U.S. Dist.
        LEXIS 166403, 2015 WL 8675377, at *5 (S.D.N.Y. Dec. 10, 2015)). See also Enslin v. Coca-
        Cola Company, 14-6476, 2016 U.S. Dist. LEXIS 193556, 2016 WL 7042206, at * 3 (E.D. Pa.
        June 8, 2016) (“Asking a court to compel a party to search the ESI of additional custodians is
        similar to asking a court to compel a party to undertake additional efforts to search for paper
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documents. In either case, the requesting party is second-guessing the responding party’s
representation that it conducted a reasonable inquiry for responsive information, and in either
case, the burden appropriately lies with the requesting party to show that the responding party’s
search was inadequate”) (citing Scott C. v. Bethlehem Area Sch. Dist., No. 00-642, 2002 U.S.
Dist. LEXIS 14042, 2002 WL 32349817, at *1 (E.D. Pa. July 23, 2002) (refusing to compel a
party to conduct a further search for documents because the requesting party “ha[d] not pointed
to any evidence” that the responding party had failed to conduct a reasonable search).
               Consistent with Your Honor’s Order, which limited pre-certification merits
discovery “to information relevant to the discrimination Mascol and Rodriguez allege with
respect to themselves,” Defendants previously identified the following fifteen (15) individuals as
responsive, since they were directly involved in the promotional process for the promotional
opportunities sought by Mascol and/or Rodriquez: 1
               Chief James Booth
               Chief Christine Mazzola
               Chief Denise Werner
               Chief Roberto Colon
               Chief Christopher Bilz
               Chief Alvin Suriel
               Chief Grace Cacciola
               Aurora Perez
               David Ogula
               Valerie Loubriel
               Adam Harris
               Roxanne Tabor
               Vincent Variale
               Captain Renae Mascol
               Captain Luis Rodriguez
               That being said, following the parties’ last telephone conference with the Court
and in an effort to reach an agreement with Plaintiffs’ counsel in order to move this case forward
without further delay, Defendants have communicated to Plaintiffs that they will agree to include
nine (9) additional custodians. Each of these additional custodians has been involved in the
SEMSS promotion process within the relevant time period of 2012 to present:


1
 This includes Captain posting numbers 2014-177, 2015-141, 2016-930, 2017-099, and 2018-
076.
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               Chief Lillian Bonsignore
               Chief Jerry Gombo
               Chief Abdo Nahmod
               Chief Nancy Gilligan
               Chief Michael Fitton
               Donay Queenan
               Cecilia Loving
               Margo Ferrandino
               Don Nguyen


              It is Defendants’ position that the list of custodians identified are the most likely
to possess responsive information pertaining to the claims raised in Plaintiffs’ putative class
action.

                Although Plaintiffs do agree on a number of Defendants’ proposed custodians,
they seek additional custodians they are unlikely to possess responsive information. Plaintiffs’
latest custodian proposal presented to Defendants includes thirty-five custodians, ranging from
the Commissioners of the Mayor’s Office of Labor Relations (“OLR”) and the New York City
Department of Citywide Administrative Services (“DCAS”), to staff attorneys employed by
these agencies and by the FDNY. Plaintiffs’ list of custodians is unreasonable and highly
unlikely to lead to responsive information. In fact, when pressed, Plaintiffs’ counsel was unable
to articulate how these additional custodians possessed relevant information. Accordingly, the
Court should endorse Defendants’ proposed list of custodians for ESI collection. Ford Motor
Co. v. Edgewood Properties, Inc., Civil Action No. 06-1278, 257 F.R.D. 418, 427 (D.N.J. May
19, 2009) (‘“[a]bsen[t] agreement, a [responding] party has the presumption, under Sedona
Principle 6, that it is in the best position to choose an appropriate method of searching and
culling data.”’) (citing The Sedona Conference Best Practices Commentary on the Use of Search
and Information Retrieval Methods in E—Discovery).”

                For the reasons set forth above, Defendants respectfully request that the Court
endorse the list of twenty-four (24) custodians identified by Defendants.


                                                            Respectfully submitted,


                                                            ECF           /s/
                                                            Donna A. Canfield
                                                            Assistant Corporation Counsel
                                                            dcanfiel@law.nyc.gov
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cc:    Yetta G. Kurland
       (by ECF)
